  Case 2:07-md-01873-KDE-MBN Document 25226-11 Filed 04/13/12 Page 1 of 1




PUBLIC SERVICE ANNOUNCEMENT TO BE BROADCAST ON RADIO STATIONS
AIRING IN THE STATES WHERE FEMA PROVIDED TRAVEL TRAILERS and
PARK MODEL TRAILERS AFTER HURRICANES KATRINA AND RITA.

Did you suffer symptoms or injuries as a result of exposure to formaldehyde in a Travel Trailer
or Park Model Trailer provided by FEMA following Hurricanes Katrina and/or Rita? If so, then
this public service announcement may apply to you.

Lawsuits have been brought on behalf of the persons who claim formaldehyde exposure in these
Travel Trailers and Park Model trailers. A class settlement has been proposed to provide money
for those who claim symptoms and injuries as a result of formaldehyde exposure.

If you think you may be a Class Member, call 1-800-728-1628 for a Claim Form, the Class
Notice Package, or more information, or visit www.femaformaldehydelitigation.com. You must
submit a Claim Form and all Claim Forms must be postmarked by October 12, 2012 for a Class
Member to receive money. You also have the right to exclude yourself from the settlement, but
must do so by August 17, 2012. If you do not exclude yourself, the settlement and its release
will be binding on you. You may also object to the settlement or ask to appear in person or by
counsel before the Court, but you must ask to do so by August 31, 2012.

This announcement has been approved and ordered by the United States District Court Judge
Kurt Engelhardt.
